 Case 2:06-cr-20411-RHC-SDP ECF No. 61, PageID.83 Filed 12/15/06 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                       Case No. 06-CR-20411-DT

D-1 - RUDOLPH DALRON WILLIAMS,
D-2 - FRANK PIERCE,
D-3 - DARRYL PIERCE,
D-4 - DERRICK YOUNG,
D-5 - CLARENCE JACKSON,

              Defendants.
                                                   /

                              ORDER SETTING DEADLINES

       On December 12, 2006, the court conducted a status conference in the above-

captioned matter. As discussed during the conference, this is principally an open file

case, and the Government has agreed to provide to the Defendants all the information

currently in its possession other than grand jury materials and except as provided by the

Jenks Act, 18 U.S.C. § 3500. Discovery will include the Government circulating to all

Defendants copies of written and oral statements provided to the Government by

Defendants Rudolph Williams, Darryl Pierce and Derrick Young. Per the objections of

counsel on behalf of Frank Pierce and Clarence Jackson, the court will allow counsel to

discuss with their respective clients their final position on this issue. The Government

will be at liberty to circulate the oral and written statements of both Defendant Jackson

and Frank Pierce, unless they file a motion within two weeks from the date of this order,

setting forth the legal basis for their objections to disclosure.
 Case 2:06-cr-20411-RHC-SDP ECF No. 61, PageID.84 Filed 12/15/06 Page 2 of 2



          Furthermore, as discussed during the conference, the court is imposing a

schedule for Defendants’ submission of their proposed budget. All Defendants are to

submit to the court their ex parte proposed budgets on or before Friday, February 16,

2007. As the court has previously indicated, the court prefers to consider all of the

proposed budgets together, and will endeavor to make its decision regarding initial

approval as soon as practicable after receipt. Accordingly,

          IT IS ORDERED that the Government circulate the oral and written statements of

Defendants Rudolph Williams, Darryl Pierce and Derrick Young. The Government will

also circulate the oral and written statements of Defendants Frank Pierce and Clarence

Jackson unless Frank Pierce or Jackson (or both) have filed a motion setting forth the

legal basis for their objections within fourteen days of the date of this order.

          IT IS FURTHER ORDERED that Defendants submit to the court their ex parte

proposed budgets on or before Friday, February 16, 2007.



                                                                S/Robert H. Cleland
                                                                ROBERT H. CLELAND
                                                                UNITED STATES DISTRICT JUDGE

Dated: December 15, 2006

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, December 15, 2006, by electronic and/or ordinary mail.


                                                                S/Lisa Wagner
                                                                Case Manager and Deputy Clerk
                                                                (313) 234-5522




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